
Wardlaw, J.
I agree that, by his neglect to pursue the directions of the Act of 1839, the sheriff lost his right to recover the difference between the bids at his two sales, without any proof of the value of the thing sold. But I do not agree that thereby he lost the right to recover, by a common law remedy, such damages as he suffered from the defendant’s refusal to comply with the contract involved in his bid. The measure of his damages was the difference between the sum bid by the defendant, and the sum which would probably have been obtained, if the sheriff had re-sold, as he should have done. For want of evidence to show the amount for which verdict ought to have been given on the second count, I think there should be a new trial; but I dissent from the order for nonsuit.

Motion granted.

